Case: 1:21-mj-00053

Assigned to: Judge G. Michael Harvey

Assign Date: 1/13/2021

Description: COMPLAINT W/ARREST WARRANT

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

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I, David Kasulones, a Deputy United States Marshal with the United States Marshals

Service, Cleveland, Ohio, being duly sworn, depose and state as follows:

AGENT BACKGROUND

1. I am an investigative or law enforcement officer of the United States within the
meaning of 18 U.S.C. § 2510(7); that is, an officer of the United States who is empowered by law
to conduct investigations of, and to make arrests for, the offenses enumerated in 18 U.S.C § 2516.
I have been trained in advanced investigative techniques and have satisfied all requirements
defined by the Federal Criminal Investigator Classification series established by the U.S. Office
of Personnel Management.

2. I am a Deputy Marshal with the United States Marshal Service (USMS),
Department of Justice (DOJ), and as such, am an investigative or law enforcement officer of the
United States within the meaning of Rule 41(a)(2)(C) of the Federal Rules of Criminal Procedure.
I am engaged in the enforcement of criminal laws and is within the category of officers authorized
by the Attorney General to request and execute search warrants pursuant to Title 18 U.S.C. §§3052
and 3107; and DOJ Regulations set forth at Title 28 C.F.R. §§ 0.85 and 60.2(a).

3. I have been a Deputy U.S. Marshal since June 1994 and attained a Bachelor of
Science Degree from Cleveland State University in Cleveland, Ohio. I have successfully
completed training at the Federal Law Enforcement Training Center to include: USMS Basic
Deputy U.S. Marshal Training, Federal Criminal Investigator Training, Advanced Deputy U.S.
Marshal Training, and USMS Supervisory and Leadership Training. I also successfully attended
training at the Federal Bureau of Investigation (FBI), in Quantico, Virginia for the Basic Joint

Terrorism Task Force Training Program. As such, I am assigned as a Task Force Officer (TFO)
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with the FBI’s Counterterrorism Division in Cleveland, Ohio. I have conducted numerous federal
criminal investigations and assisted in numerous prosecutions.

4, Over the course of my employment as a Deputy U.S. Marshal, I have conducted
and participated in multiple criminal investigations that have resulted in arrests for criminal
offenses. These crimes resulted in subsequent convictions in Federal Courts.

PURPOSE OF AFFIDAVIT

5. This affidavit is being submitted for the limited purpose of establishing probable
cause to believe that CHRISTINE PRIOLA has violated Title 18 U.S.C. § 1752, Restricted
Buildings or Grounds; Title 40 U.S.C. § 5104(e)(2)(A) and (D), Unlawful Activities on Capitol
Grounds; Disorderly Conduct; and Title 40 U.S.C. § 5104(f), Unlawful Activities on Capitol
Grounds, Parades, Assemblages and Display of Flags, as set forth below:

a. Title 18 U.S.C. § 1752(a)(2): Restricted Building or Grounds; Whoever
knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engages in disorderly or disruptive
conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly
conduct of Government business or official functions;

b. Title 40 U.S.C. § 5104(e)(2): Unlawful Activities on Capitol Grounds; An
individual or group of individuals may not willfully and knowingly (A) enter
or remain on the floor of either House of Congress or in any cloakroom or
lobby adjacent to that floor, in the Rayburn Room of the House of
Representatives, or in the Marble Room of the Senate, unless authorized to do

so pursuant to rules adopted, or an authorization give, by that House; or (D)
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utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of
a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and

c. Title 40 U.S.C. § 5104(H(2): Unlawful Activities on Capitol Grounds; A
person may not display in the Grounds a flag, banner, or device designed or
adapted to bring into public notice a party, organization or movement.

6. The statements contained in this affidavit are based in part on: information provided
by FBI Special Agents, Task Force Officers and FBI Analysts, written reports about this and other
investigations that I have received, directly or indirectly, from other law enforcement agents,
information gathered from the results of physical surveillance conducted by law enforcement
agents, reporting by eye witnesses, independent investigation and analysis by FBI agents/analysts
and computer forensic professionals, and my experience, training and background as a Deputy
U.S. Marshal. Because this affidavit is being submitted for the limited purpose of securing a
criminal complaint, I have not included each and every fact known to me concerning this
investigation. Instead, I have set forth only the facts that I believe are necessary to establish the
necessary foundation for the requested complaint.

JURISDICTION

7. This Court has jurisdiction to issue the requested warrant because it is a “court of
competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), and

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that — has jurisdiction
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over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below,
the U.S. Attorney’s Office for the District of Columbia is investigating this case, which, among
other things, involves possible violations of violated Title 18 U.S.C. § 1752, Restricted Buildings
or Grounds; Title 40 U.S.C. § 5104(e)(2)(A) and (D), Unlawful Activities on Capitol Grounds.
Disorderly Conduct; and Title 40 U.S.C. § 5104(f), Unlawful Activities on Capitol Grounds,
Parades, Assemblages and Display of Flags. The conduct at issue includes an overt act in the
District of Columbia, in the form of entering into Congress on January 6, 2021, as part of a mob
that disrupted the proceedings of Congress, engaged in property damage and theft, and caused
physical injury.

BASIS FOR PROBABLE CAUSE

8. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol.

9. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.

10. On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. Specifically,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the Capitol to certify the vote count of the Electoral College of
the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Vice President Mike Pence was present and presiding in the

Senate chamber.
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11. With the joint session underway and with Vice President Pence presiding, a large
crowd gathered outside the U.S. Capitol. Temporary and permanent barricades surround the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside.

12. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. At such time, the joint session was still underway
and the exterior doors and windows of the U.S. Capitol were locked or otherwise secured.
Members of the U.S. Capitol Police attempted to maintain order and keep the crowd from entering
the Capitol; however, at approximately 2:15 p.m., individuals in the crowd forced entry into the
U.S. Capitol, including by breaking windows. Shortly thereafter, members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint
session of the United States Congress was effectively suspended until approximately 8:00 p.m.

13. During national news coverage of the aforementioned events, video footage, which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
scores of individuals inside the U.S. Capitol building, without authority to be there, in violation of
Federal laws.

14. —_ United States Capitol Police (“Capitol Police”) learned that individuals entered the
restricted floor area of the Senate chambers and took photographs of the evacuation of the Senate
chambers that were required based on the unauthorized entrance. Upon making entry, individuals
were observed carrying signs, flags, banners, and other items not authorized to be carried in the

Senate chambers. The individuals gaining unauthorized access to the Senate chambers were also
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observed using smart cellular telephones and other electronic recording and storage devices to
record, photograph, and broadcast their actions over social media.

15. Those photos and electronic images were circulated on numerous news media
platforms, some of which showed an individual holding a sign reading, in part, “The Children Cry
Out for Justice,” and pointing a smart cellular telephone device at an individual occupying the seat
of the Vice President of the United States. The female appears to be holding the digital media
device in a manner consistent with taking photographs or videos, both of which are capable of
being digitally stored and disseminated. The female was also wearing a red winter coat and
distinctive pants that appeared to have the name “Trump” and other words written on the leg.

16. On or about January 8, 2021, via a Twitter post, the Cleveland Division of the FBI
received an anonymous tip that Christine PRIOLA was the female depicted in the photographs
described above. In the Twitter post photograph, PRIOLA is seen standing inside the U.S. Senate
Chambers holding a sign under one arm and mobile (smart) phone. She is wearing a red coat and
distinctive pants. The Twitter post also identified PRIOLA as being employed with the Cleveland
Metropolitan School District (CMSD).

17. Also on or about January 8, 2021, I identified PRIOLA as Christine Marie PRIOLA
of Willoughby, Ohio, by comparing photographs from the Ohio Law Enforcement Gateway with
photographs from January 6, 2021. I received verification from the CMSD that PRIOLA resigned
from her position with the CMSD in a letter dated January 7, 2021.

18. Based on the information described above, a search of PRIOLA’s house was
authorized on January 8, 2021 by a judicial officer in the U.S. District Court for the Northern
District of Ohio. On January 8, 2021, law enforcement agents executed a search warrant at

PRIOLA’s residence and recovered a laptop computer; two desktop computers; several thumb
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drives; and an Apple iPhone. I am further informed that agents recovered clothing, a sign, and
other materials consistent with the photographs of PRIOLA taken on January 6, 2021.

19. During the search, PRIOLA directed agents to the kitchen where she gave them the
above-identified iPhone and confirmed it was hers. Subsequent forensic examination confirmed
that the T-Mobile account associated with the iPhone was registered in PRIOLA’s name.

20. During a subsequent search of PRIOLA’s Apple iPhone on or about January 12,
2021, agents were unable to recover data for photos, videos, chats, or messages from
approximately January 4 through January 7, 2021. Agents also were unable to recover device
location data for January 6, 2021, from 5:40AM to 4:17PM. At the same time, agents were able to
recover device location data for January 6, 2021, at 4:23PM. This data indicated that the device
was utilizing a WiFi system located at GPS coordinates (38.892002, -77.006646). According to
Google Maps, these coordinates correspond to a location just northeast of the U.S. Capitol
building.

21. Based on my training and experience, and my knowledge of the facts uncovered in
this investigation to date, I believe that at no time on or before January 6, 2021, was PRIOLA
granted permission or authorized by rule to enter or remain on the floor of either House of
Congress, nor did she, at any time, have authorization to assemble, display flags, or parade on the
Grounds or in the Capitol Building.

CONCLUSION

22. Based on the above factual allegations, I submit that probable cause exists to
believe that CHRISTINE PRIOLA, has violated Title 18 U.S.C. § 1752, Restricted Buildings or

Grounds; Title 40 U.S.C. § 5104(e)(2)(A) and (D), Unlawful Activities on Capitol Grounds;
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Disorderly Conduct; and Title 40 U.S.C. §5104(f), Unlawful Activities on Capitol Grounds,

Parades, Assemblages and Display of Flags.

DAVID KASULONES
Deputy United States Marshal
United States Marshals Service

Sworn to via telephone after submission by reliable electronic means, Fed. R. Crim. P. 3, 4(d),
and 4.1, on this . day of January 2021,
2 G. Michael Harvey

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HONORABLE G. MICHAEL HARVEY
UNITED STATES MAGISTRATE JUDGE

